IN THE UNITED STATES DISTRICT COURT **
FOR THE MIDDLE DISTRICT OF TENNESSEE

Teas % Case Number a aS- CV COasS

Judge \ 3ASe et d Ke chord Stay

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Magistrate Judge

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Summons and Plaintiff Response to Fifth Third Bank Motion to Dismiss
From:regina jordan (g48 |8@yahoo.com)

To:krogers@burr.com

Date: Thursday, April 17, 2025 at 04:56 AM CDT

Message Body
To: Katherine R. Rogers

| am attaching the Summons Civil Action No. 3:25-CV-00288 and the Plaintiff Response to Fifth Third
Bank Motion to Dismiss.

Dr. Regina Jordan-Sodiq, Pro se

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ie

Re: Summons and Plaintiff Response to Fifth Third Bank Motion to Dismiss
From:regina jordan (g48 | 8@yahoo.com)

To:krogers@burr.com

Date: Thursday, April 17, 2025 at 04:57 AM CDT

Message Body

On Thursday, April 17, 2025 at 04:56:59 AM CDT, regina jordan <g4818@yahoo.com> wrote:

To: Katherine R. Rogers

| am attaching the Summons Civil Action No, 3:25-CV-00288 and the Plaintiff Response to Fifth Third
Bank Motion to Dismiss.

Dr. Regina Jordan-Sodiq, Pro se

USPS confirmation receipt Corporation Service Company. jpg
122.2kB

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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Dr.Regina Jordan-Sodiq )
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Plaintiff(s) ) \ Phe DUAL. Ison
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v. Civil Action No, 3:25-CV-00288 udeg El, Rich
State of Tennessee, et.al., Defendants and Fifth Third )
Bank Defendant )
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Defendant(s) )
SUMMONS IN A CIVIL ACTION
oft > » corporation. Service Company (Registered Agent)
To: (Defendant’s name and address) Fifth nk A Ol (low A
40200 Davie Taylor Driv 260 WEAN
Nashwite TN S7e42— C YroKro AAe ] N 20\\4

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

LERK OF COURT

Date: APR 15 2025 Pilg bree Yu -—

“Signature of Clerk or Deputy Clty:

RETURN COPY

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AO 440 (Rev. 06/12) Summons ina Civil Action (Page 2)
Civil Action No, 3:25-CV-00288

PROOF OF SERVICE
(This section should not be filed with the court unless required hy Fed. R. Civ. P. 4 (D)

This summons for (aame of individual and ttle, ifany)

was received by me on (dare)

CF I personally served the summons on the individual at (place)

on (ute) ; or

CT 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

and mailed a copy to the individual’s last known address; or

on (date) >

SF [ served the summons on (namie of individual) , who is

designated by law to accept scrvice of process on 1 behalf of n (name ie of o1 ganization).
on (date) 5 or

PV | returned the summons unexecuted because 5 or

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My fees are $ for Cris and $ for services, foratotalof$ 0,00,

I declare under penalty of perjury that this information is true.

Date: Af lol ae VE

Server's address

Additional information regarding attempted service, etc:

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